        Case 22-10609-amc      Doc 480-4 Filed 10/18/24 Entered 10/18/24 14:26:34                                  Desc
                                       Exhibit D Page 1 of 1

                             Exhibit D: Scheduled Claims with No Timely Filed Proof of Claim
                                                                                                                   Omnibus
                             Schedule F    Schedule F                                   Allowed        Disputed
                  Creditor                            C, U, D POC# POC Amount                                      Objection
                              Amount          No.                                        Claim          Claims
                                                                                                                  Paragraphs
TDR Systems Inc.
t/a CHUTES International
                               $9,458.46        3.145    C                                     $0.00                33-35
33 Industrial Park Drive
Waldorf, MD 20602




4889-1864-0598 v3-10/18/24                                   1
